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                                                                         6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         8
                                                                         9   UNITED STATES GYPSUM COMPANY,
                                                      10                                    Plaintiff,                                 No. C 04-04941 JSW
                                                      11                       v.                                                      ORDER GRANTING JOINT
United States District Court




                                                                                                                                       MOTION TO VACATE CLAIM
                                                      12                     PACIFIC AWARD METALS, INC.,                               CONSTRUCTION ORDER AND
                                                                                                                                       ORDER GRANTING SUMMARY
                                                      13                                    Defendant.                                 JUDGMENT OF NON-
                               For the Northern District of California




                                                                                                                                       INFRINGEMENT AND TO
                                                      14                                                                               ENTER DISMISSAL ORDER
                                                                                                                             /
                                                      15
                                                      16                            This matter comes before the Court upon consideration of the parties’ joint motion to
                                                      17                     vacate this Court’s Claim Construction Order dated November 8, 2005 and the Order Granting
                                                      18                     Defendant’s Motion for Summary Judgment of Non-Infringement dated March 1, 2006.
                                                      19                                                                ANALYSIS
                                                      20                            On June 30, 2006, the parties executed a Settlement Agreement in this matter. Pursuant
                                                      21                     to the terms of that agreement, the parties ask the Court to vacate its rulings on claim
                                                      22                     construction and summary judgment and to dismiss the matter with prejudice. A district court
                                                      23                     may vacate an order granting judgment upon consideration of “‘the consequences and attendant
                                                      24                     hardships of dismissal or refusal to dismiss’ and ‘the competing values of finality of judgment
                                                      25                     and right to re-litigation of unreviewed disputes.’” American Games, Inc. v. Trade Products,
                                                      26                     Inc., 142 F.3d 1164, 1168 (9th Cir. 1998) (citing Dilley v. Gunn, 64 F.3d 1365, 1370-71 (9th Cir.
                                                      27                     1995) (quoting Ringsby Truck Lines, Inc. v. Western Conference of Teamsters, 686 F.2d 720,
                                                      28                     722 (9th Cir. 1982))).
                                                                               Case 3:04-cv-04941-JSW Document 227 Filed 07/03/06 Page 2 of 2



                                                                         1           In this case, however, the claims construction order and order granting summary
                                                                         2   judgment were interlocutory in nature and did not fully adjudicate the rights and claims of the
                                                                         3   parties. Thus, they can be vacated at any time prior to final judgment. See, e.g., Persistence
                                                                         4   Software, Inc. v. The Object People, Inc., 200 FRAT 626, 627 (N.D. Cal. 2001); Fed. R. Civ. P.
                                                                         5   54(b). In support of their motion, the parties contend that the agreement to file the instant
                                                                         6   motion was a significant factor in successfully resolving this litigation. The Court concludes
                                                                         7   that there are no considerations that would justify denial of the motion. Accordingly, the
                                                                         8   parties’ joint motion to vacate is GRANTED.
                                                                         9                                            CONCLUSION
                                                      10                             For the foregoing reasons, the Court’s Claim Construction Order dated November 8,
                                                      11                     2005 (Docket No. 78) and the Court’s Order Granting Defendant’s Motion for Summary
United States District Court




                                                      12                     Judgment of Non-Infringement dated March 1, 2006 (Docket No. 160) are VACATED.
                                                      13                             It is FURTHER ORDERED that Plaintiff’s claims against Defendant and Defendant’s
                               For the Northern District of California




                                                      14                     counterclaims against Plaintiff are HEREBY DISMISSED WITH PREJUDICE. The Clerk is
                                                      15                     directed to close the file.
                                                      16                             IT IS SO ORDERED.
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                                                      18                     Dated: July 3, 2006
                                                                                                                                       JEFFREY S. WHITE
                                                      19                                                                               UNITED STATES DISTRICT JUDGE
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